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                     Exhibit
                     Exhibit B
                             B
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   Message                                                 —————————————
   ———————————————————————————————————
   ee
   From:   Fischer, Debra L. [debra.fischer@morganlewis.com]
   Sent:              3/7/2019 7:09:49 PM
   To:                Reshma Dalia [/O=CORPORATE/OU=First Administrative Group/cn=Recipients/cn=rdalia]
   cc:                Wagmeister, Adam E. [adam.wagmeister@morganlewis.com]
   Subject:           IT Forms
   Attachments:       111118 35914475v2_Alilant_ IT Form Combined.DOCX; 111118__36057360v2_Alliant_ IT Form - Instructions re
                      Current Employer Property. DOCX


   This message has originated outside the organization.




   Reshma,

   Attached are the two revised IT forms we have prepared for Alliant’s use in the Lockton matter and with respect to all
   future hires. The forms are as follows:

           e    Instructions Regarding Current Employer Information: This form replaces the prior IT Form 1 and, like that
                form, is to be sent to the candidate alongside the offer letter. Also like the prior IT Form 1, this will not be sent
                to candidates who receive EAs and negotiate in advance (e.g., the 10 Lockton producers), as these employees
                will be undergoing the forensic remediation in advance. This new form provides improved instructions on the
                return and/or destruction of current employer property prior to resignation.      Note, we are no longer instructing
                employees in writing to resign without notice because they may have notice provisions — Alliant will instead
                instruct them verbally, which | understand it has already been doing.
           e    Employee IT Questionnaire and Certification Form: This form combines and replaces the prior IT Forms 2 and 3
                and, like those forms, is to be signed by every new hire (including those with EAs) on the first day of
                employment at Alliant. The new form includes questions about personal email, cloud storage, and file sharing
                accounts that were not previously addressed, and includes additional instructions/acknowledgments designed
                to protect Alliant and prevent misappropriation.

   Please let us know if you would like to further discuss. We will have 50 copies of each of these sent to the Denver Regus
   Suite once you have had the opportunity to review and approve these.

   Thanks,
   Deb



   Debra L. Fischer
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   debra. fischer@morganiewis.com | www.morganlewis.com
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